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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY




 SYMBOLOGY INNOVATIONS, LLC,                            C.A. No. 2:17-cv-02082-CCC-JBC


                       Plaintiff,                     JOINT MOTION FOR DISMISSAL


                  v.


 QUEST DIAGNOSTICS INCORPORATED,


                       Defendant.




                             JOINT MOTION FOR DISMISSAL

       NOW through undersigned counsel, comes Plaintiff SYMBOLOGY INNOVATIONS,
LLC (“SI”) and Defendants QUEST DIAGNOSTICS INC. (“Quest”) who advise the Court that
they have reached a mutual resolution in this matter,

        AND move to dismiss WITH PREJUDICE all claims asserted by SI against Quest; and
WITH PREJUDICE all non-infringement counterclaims and WITHOUT PREJUDICE all
invalidity counterclaims by Quest against SI, under Federal Rule of Civil Procedure 41(a); and
pursuant to The Court’s Order of September 29, 2017 [ECF No. 22];

       WITH each party bearing its own attorney fees and costs;

       THE parties now request that the Court enter an Order of dismissal,


                                           ORDER
       The Motion for Dismissal with prejudice of all claims asserted by SI against Quest; and
with prejudice of all non-infringement counterclaims and without prejudice of all invalidity
counterclaims by Quest against SI, with each party to bear its own attorneys’ fees and costs, is
hereby granted.
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                                           16th day of _____________,
      Executed in Newark, New Jersey this _____          November     2017.



                                             s/Claire C. Cecchi
                                        _______________________________

                                        Honorable Claire C. Cecchi
                                        UNITED STATES DISTRICT JUDGE



November 15, 2017                              Respectfully Submitted,


s/Jean-Marc Zimmerman                          s/Amer S. Pharon
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                                               Quest Diagnostics Inc.
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing has been served
upon all counsel of record, via the Court’s CM/ECF system, on this 15th day of November,
2017.


                                                   s/Jean-Marc Zimmerman
                                                   JEAN-MARC ZIMMERMAN
